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                            FOR PUBLICATION

            UNITED STATES COURT OF APPEALS
                 FOR THE NINTH CIRCUIT

       SEATTLE PACIFIC UNIVERSITY,                        No. 22-35986
                 Plaintiff-Appellant,
                                                            D.C. No.
           v.                                            3:22-cv-05540-
                                                              RJB
       ROBERT FERGUSON, in his official
       capacity as Attorney General of
       Washington,                                          OPINION
                      Defendant-Appellee.

                Appeal from the United States District Court
                  for the Western District of Washington
                 Robert J. Bryan, District Judge, Presiding

                 Argued and Submitted November 16, 2023
                           Seattle, Washington

                               Filed June 7, 2024

           Before: M. Margaret McKeown and Ronald M. Gould,
           Circuit Judges, and Richard D. Bennett, * District Judge.

                         Opinion by Judge McKeown


       *
        The Honorable Richard D. Bennett, United States District Judge for the
       District of Maryland, sitting by designation.
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                                 SUMMARY **


                        First Amendment/Standing

           The panel affirmed in part and reversed in part the
       district court’s dismissal of an action brought by Seattle
       Pacific University (“SPU”) alleging First Amendment
       violations arising from the Washington Attorney General’s
       investigation under the Washington Law Against
       Discrimination (“WLAD”) into the University’s
       employment policies and history.
           SPU is a religious university that prohibits employees
       from engaging in same-sex intercourse and marriage. After
       receiving complaints, the Washington Attorney General sent
       SPU a letter requesting documents related to the University’s
       employment policies, employee complaints, and employee
       job descriptions. In response, SPU filed suit against the
       Washington Attorney General to enjoin the investigation and
       any future enforcement of WLAD. The district court
       dismissed the suit on the basis of lack of redressability and
       Younger abstention.
           Affirming in part, the panel held that SPU failed to allege
       a cognizable injury in fact for its retrospective claims
       alleging that the Attorney General’s investigation and
       request for documents chilled its religious exercise. The
       Attorney General’s request for documents carried no stick
       because SPU would not face sanctions for ignoring it.
       Moreover, although inquiring into the employment
       conditions of ministers may offend the First Amendment, an

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         This summary constitutes no part of the opinion of the court. It has
       been prepared by court staff for the convenience of the reader.
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       inquiry into which employees are ministerial is fair game
       because the ministerial exception’s status as an affirmative
       defense makes some threshold inquiry necessary.
           Reversing in part, the panel held that SPU had standing
       for its prospective pre-enforcement injury claims. SPU
       evidenced a sufficient intention to continue employment
       practices that are arguably proscribed by WLAD, the
       Attorney General has not disavowed its intent to investigate
       and enforce WLAD against SPU, and SPU’s injury is
       redressable. Younger abstention is not warranted because
       there are no ongoing enforcement actions or any court
       judgment. The panel remanded the district court to consider
       prudential ripeness in the first instance.



                              COUNSEL

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                               OPINION

       McKEOWN, Circuit Judge:

                            INTRODUCTION
            The merits of this lawsuit involve yet another clash
       between a state anti-discrimination law and the First
       Amendment. But this appeal presents an antecedent
       question—whether the federal courts may pass on this
       important issue before the Attorney General commences an
       enforcement action. Seattle Pacific University (“SPU”) is a
       religious university that prohibits employees from engaging
       in same-sex intercourse and marriage. After receiving a slew
       of complaints, the Washington Attorney General sent SPU a
       letter alerting it to an investigation under the Washington
       Law Against Discrimination (“WLAD”) and requesting
       documents related to employment policies, employee
       complaints, and employee job descriptions. In response,
       SPU filed suit against the Washington Attorney General to
       enjoin the investigation and any future enforcement of the
       WLAD. The question is whether the district court has
       jurisdiction to hear this case. Based on a lack of
       redressability and Younger abstention, the district court
       granted the Attorney General’s motion to dismiss. We
       affirm in part and reverse in part. We conclude that SPU has
       standing to bring certain claims and that Younger abstention
       does not bar the court from considering those claims.
              FACTUAL AND PROCEDURAL BACKGROUND
           The WLAD declares a “right to be free from
       discrimination because of . . . sexual orientation.” Wash.
       Rev. Code § 49.60.030. The Washington State Human
       Rights Commission, created under the WLAD, is charged
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       with investigating and adjudicating complaints of
       discriminatory practices. Id. § 49.60.120. In addition, the
       Attorney General and private individuals may sue employers
       for discriminatory practices. Id. §§ 49.60.030(2), 49.60.350.
           The WLAD exempts religious nonprofit organizations
       from its definition of “employer.” Id. § 49.60.040(11). In
       2021, however, the Washington Supreme Court determined
       that the WLAD’s exemption of all religious nonprofit
       employers may violate Article I, Section 12 of the
       Washington State Constitution as applied to particular
       individuals. See Woods v. Seattle’s Union Gospel Mission,
       481 P.3d 1060, 1070 (Wash. 2021) (en banc), cert. denied,
       142 S. Ct. 1094 (2022). That provision of the state
       constitution provides, “No law shall be passed granting to
       any citizen, class of citizens, or corporation other than
       municipal, privileges or immunities which upon the same
       terms shall not equally belong to all citizens, or
       corporations.” WASH. CONST. art. I, § 12. According to the
       Washington Supreme Court, the WLAD’s differential
       treatment of religious organizations chafes against this
       clause. Woods, 481 P.3d at 1065–67. At the same time, the
       court recognized that the First Amendment of the United
       States Constitution includes special protections for religious
       employers with regard to ministerial employees. Id.1067–
       69. Analyzing the interplay between these competing
       principles, the court narrowed the WLAD’s religious
       employer exemption to be coextensive with the ministerial
       exception recognized under federal law. Id. at 1069–70.
           SPU is a private Christian university “under the auspices
       of the Free Methodist Church.” Free Methodists believe
       “sexual intimacy is a gift from God and is a great blessing in
       the sanctity of marriage between one man and one woman.”
       In the spirit of this tenet, SPU “requires all of its regular
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       faculty and staff (other than student employees and
       temporary employees) . . . to abide by certain lifestyle
       expectations in keeping with the University’s religious
       beliefs.” Employees are prohibited from engaging in sexual
       intimacy outside of marriage, with marriage only recognized
       between one man and one woman.
           In January 2021, a faculty applicant sued SPU alleging
       sexual orientation discrimination. The case settled, but it
       sparked debate within the university. Some students and
       faculty called on the Board of Trustees to change its policies,
       attracting media coverage. After forming a working group
       to study the issue, the Board rebuffed the calls for reform,
       voting to retain the existing employee conduct policy.
           The Attorney General has received hundreds of
       complaints against SPU related to its employment policy.
       Shortly after the Board’s decision, the Attorney General sent
       SPU a letter announcing a probe into SPU’s employment
       policies and history. The letter requested (1) information
       regarding hiring, discipline, and employment policies, (2) a
       description of instances when the sexual orientation policies
       have been implemented, (3) any complaints from
       prospective, current, or former employees, and (4) the job
       descriptions for all employees. In addition, the Attorney
       General requested the retention of all documents relevant to
       the investigation.
           SPU responded to the letter, seeking clarification on the
       scope of the probe and the Attorney General’s interpretation
       of state and federal law. In reply, the Attorney General
       objected to SPU’s lack of compliance with the request.
       Instead of tendering the requested documents, SPU filed this
       lawsuit. The Attorney General then issued a press release
       denouncing SPU’s “illegal discrimination” and soliciting
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       more complaints. The Attorney General also filed a motion
       to dismiss the lawsuit arguing that SPU failed to allege an
       injury, that any alleged injuries would not be redressable,
       that SPU’s claims were not ripe, and that Younger abstention
       required dismissal. After SPU filed a First Amended
       Complaint (the “Complaint”), the Attorney General refiled
       its motion to dismiss on the same grounds.
           The Complaint alleged that the Attorney General’s probe
       and future enforcement of the WLAD violated the First
       Amendment. Specifically, SPU characterizes the Attorney
       General’s actions as retaliation for constitutionally protected
       activities, an interference with church autonomy, selective
       enforcement of Washington law, and a denominational
       preference. Counts II, VI, VII, IX, and X are prospective
       pre-enforcement claims challenging the impending
       enforcement of the WLAD; Counts I, III, IV, V, and VIII,
       and XI are retrospective claims challenging the Attorney
       General’s investigation so far.
           At oral argument, the district court questioned the
       Attorney General’s counsel on the repercussions of SPU
       ignoring the inquiry letter. Counsel replied, “[T]here are no
       legal consequences to ignoring our letter. . . . There are no
       other consequences.” The district court, ruling from the
       bench, dismissed the Complaint.           Assuming without
       deciding an injury in fact, the court found that the injury was
       not redressable and Younger abstention required dismissal.
                                 ANALYSIS
       I. Standing
           We review de novo an order granting a motion to dismiss
       for lack of standing, and we rest our analysis on the
       Complaint’s allegations, which we accept as true at the
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       pleading stage. See Southcentral Found. v. Alaska Native
       Tribal Health Consortium, 983 F.3d 411, 416–17 (9th Cir.
       2020); Carrico v. City & Cnty. of San Francisco, 656 F.3d
       1002, 1006 (9th Cir. 2011). To establish standing, SPU must
       meet the well-established requirements: “injury in fact,
       causation, and a likelihood that a favorable decision will
       redress the plaintiff’s alleged injury.” Lopez v. Candaele,
       630 F.3d 775, 785 (9th Cir. 2010). Here, only injury in fact
       and redressability are contested.
           A. Investigatory Probe—Injury in Fact
           Six of SPU’s claims allege an injury based on the
       Attorney General’s probe to date—Counts I, III, IV, V, VIII,
       and XI. SPU contends that the Attorney General’s request
       for documents chilled religious exercise, both because SPU
       was targeted for retaliation and because the probe intruded
       on religious autonomy. This retrospective theory requires us
       to disregard any threat of future enforcement and focus on
       the Attorney General’s past actions—namely, the request
       letter and the general investigation so far. We conclude that
       SPU failed to state an injury in fact, and hence these counts
       were properly dismissed.
           In a strikingly similar case, Twitter alleged that a Civil
       Investigative Demand (“CID”) from the Texas Office of the
       Attorney General had a chilling effect on its free speech
       rights. Twitter, Inc. v. Paxton, 56 F.4th 1170, 1172 (9th Cir.
       2022). We held that Twitter’s vague assertions of chilled
       speech were insufficient to establish an injury. Id. at 1175.
       Crucially, the CID was non-self-executing: the Texas
       Attorney General must petition a court to enforce a CID if
       the recipient refuses to comply. Id. at 1176. We concluded,
       “[T]o complain about the CID in this posture is to speculate
       about injuries that have not and may never occur.” Id.
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       Although we grounded the decision on ripeness, we noted
       that the ripeness inquiry is “synonymous with the injury-in-
       fact prong of the standing inquiry.” Id. at 1173 (cleaned up).
            Like the CID in Twitter, the Attorney General’s request
       for documents carries no stick: SPU would not face
       sanctions for ignoring it. SPU endeavors to cast its injury as
       more concrete than that of Twitter, but we are not convinced.
       SPU alleges that the Attorney General’s actions “require[d]
       [SPU] to make decisions about employment under a cloud
       of government investigation and impending penalties” and
       that SPU “believes that if it does not comply with the
       unconstitutional probe, then it will face serious penalties and
       litigation against Constitutionally protected actions.” These
       allegations mirror Twitter’s claim that its “ability to freely
       make its own decisions as to what content to include on its
       platform is impeded by the persistent threat that government
       actors who disagree with those decisions may wield their
       official authority to retaliate, such as by issuing a
       burdensome CID or commencing an intrusive
       investigation.” Twitter, 56 F.4th at 1175. SPU’s allegations
       are no more concrete.
           As we know, not all First Amendment rights stand on
       equal footing. In Twitter, the claimed injury was chilled
       speech, not the intrusion into church autonomy. The
       Supreme Court has stressed that “the very process of
       inquiry” by the government may impinge the rights
       guaranteed by the Religion Clauses. NLRB v. Catholic
       Bishop of Chicago, 440 U.S. 490, 502 (1979). Although this
       wrinkle distinguishes SPU’s appeal from Twitter, it turns out
       to be a distinction without a difference.
          SPU cites a string of cases emphasizing the firewall
       between secular employment standards and religious
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        organizations. But none of those cases stand for the
        proposition that SPU asks us to endorse. In each case, the
        question was unquestionably ripe: the agency or judicially
        supervised investigation was exercising its coercive power.
        See, e.g., Rayburn v. Gen. Conf. of Seventh-Day Adventists,
        772 F.2d 1164, 1171 (4th Cir. 1985) (“Church personnel and
        records would inevitably become subject to subpoena,
        discovery, cross-examination, the full panoply of legal
        process designed to probe the mind of the church in the
        selection of its ministers.”). 1 SPU’s Complaint proclaims,
        “Church autonomy also forbids the ‘forced disclosure’ of
        religious organizations’ ‘internal communications.’” But
        here, there is no “forced disclosure.” SPU asks us to
        judicially shield it from a request for documents that could
        simply be ignored. As the Attorney General acknowledges,
        there are “no legal consequences” or “other consequences”
        flowing from the request. Nothing in the Religion Clauses
        transforms the Attorney General’s request into an injury.
            Nor can it be that any investigation into a religious
        organization’s employment practices creates a First
        Amendment injury. As SPU’s own authorities make clear,
        inquiring into the employment conditions of ministers may
        offend the First Amendment, but an inquiry into which
        employees are ministerial is fair game: “The ministerial
        exception’s status as an affirmative defense makes some
        threshold inquiry necessary. At the same time, discovery to
        determine who is a minister differs materially from
        discovery to determine how that minister was treated . . . .”


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         See also Duquesne Univ. of the Holy Spirit v. NLRB, 947 F.3d 824, 827
        (D.C. Cir. 2020) (challenging an NLRB order to bargain); Whole
        Woman’s Health v. Smith, 896 F.3d 362, 366–67 (5th Cir. 2018) (raising
        a motion to quash a subpoena).
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        Demkovich v. St. Andrew the Apostle Par., 3 F.4th 968, 983
        (7th Cir. 2021) (citing Hosanna-Tabor Evangelical
        Lutheran Church & Sch. v. EEOC, 565 U.S. 171, 195 n.4
        (2012)).
            This distinction is sensible. If the First Amendment
        barred any inquiry into religious employers, including an
        inquiry into which employees are ministers, the ministerial
        exception would be elevated from an affirmative defense to
        affirmative immunity, and the Attorney General would have
        no point of entry for an investigation of non-ministerial
        employees. A religious employer is not given carte blanche
        with respect to all employees, ministerial and non-
        ministerial alike. As the Supreme Court has made clear,
        “[t]his does not mean that religious institutions enjoy a
        general immunity from secular laws, but it does protect their
        autonomy with respect to internal management decisions
        that are essential to the institution’s central mission.” Our
        Lady of Guadalupe Sch. v. Morrissey-Berru, 140 S. Ct.
        2049, 2060 (2020). SPU’s sweeping interpretation of the
        ministerial exception would give religious organizations a
        vast buffer zone, tantamount to a free pass, protecting far
        more than just the “central mission” of the religious
        institution. Id. To the contrary, First Amendment
        protections serve as a sieve, not a lid. 2
            B. Pre-Enforcement Injury In Fact
            A separate framework applies to SPU’s claims asserting
        pre-enforcement standing—Counts II, VI, VII, IX, and X.
        Pre-enforcement standing injuries are predicated on the

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         Nor does it matter that the inquiry came from a government probe rather
        than from a suit brought by an individual employee. The scope of the
        ministerial exception does not fluctuate based on the identity of the
        challenging party.
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        anticipated enforcement of the challenged statute in the
        future and the resulting chilling effect in the present. Put
        simply, pre-enforcement standing hinges on whether a party
        has “alleged a sufficiently imminent injury for the purposes
        of Article III.” Susan B. Anthony List v. Driehaus, 573 U.S.
        149, 151 (2014). In Driehaus, the Supreme Court offered up
        three benchmarks to determine whether there is “a credible
        threat of enforcement”: (1) a plaintiff must allege “an
        intention to engage in a course of conduct arguably affected
        with a constitutional interest,” (2) a plaintiff’s intended
        future conduct must be “arguably . . . proscribed by [the]
        statute” it wishes to challenge, and (3) the threat of future
        enforcement must be “substantial.” 3 Id. at 161–62, 164
        (quoting Babbitt v. Farm Workers, 442 U.S. 289, 298
        (1979)). Under this framework, we conclude that SPU has
        alleged a pre-enforcement injury in fact.
                1. Course of Conduct Affecting a Constitutional
                   Interest
            The first Driehaus prong requires that the plaintiff has
        “an intention to engage in a course of conduct arguably
        affected with a constitutional interest.” Id. at 161 (quoting
        Babbitt, 442 U.S. at 298). As a religious university with
        specific parameters undergirding its employment practices,
        SPU’s employment decisions are plainly affected with First
        Amendment interests. See Our Lady of Guadalupe, 140 S.
        Ct. at 2060. The real question is whether SPU has sufficient
        intention to act.



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         See Peace Ranch, LLC v. Bonta, 93 F.4th 482, 486–87 (9th Cir. 2024),
        for a synopsis of the evolution of Ninth Circuit caselaw on pre-
        enforcement standing.
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            The Attorney General posits that “[i]n the absence of any
        fact allegation by SPU of how it plans to refuse to hire, fire,
        or otherwise discriminate against non-ministerial employees
        because of their sexual orientation, SPU fails to show that it
        intends to act in a course of conduct proscribed by the
        WLAD.” But the Attorney General misunderstands the
        inquiry. To be sure, bare bones pleadings merely asserting
        that the plaintiffs are subject to the challenged law are not
        enough. See Carrico, 656 F.3d at 1006–07. Some of our
        precedents suggest that pre-enforcement standing requires
        the “when, to whom, where, or under what circumstances”
        the plaintiff plans to violate the law. See Unified Data
        Servs., LLC v. FTC, 39 F.4th 1200, 1211 (9th Cir. 2022)
        (quoting Lopez, 630 F.3d at 787). When, however, a
        plaintiff has previously engaged in conduct that would
        violate the challenged law, we have relaxed the requisite
        level of detail. See Tingley v. Ferguson, 47 F.4th 1055, 1068
        (9th Cir. 2022) (“[W]e do not require plaintiffs to specify
        ‘when, to whom, where, or under what circumstances’ they
        plan to violate the law when they have already violated the
        law in the past.” (citation omitted)).
            SPU has evidenced a sufficient intention to continue its
        employment practices. In the face of faculty and student
        pressure to change its policies, the Board voted to retain the
        existing employee conduct policy prohibiting same-sex
        marriage and intimacy. SPU further alleges that it “would
        be automatically disaffiliated from the Free Methodist
        Church” if it permitted employment of “Christians in same-
        sex marriages.” These allegations suffice to meet the
        requirement of “an intention to engage in a course of
        conduct” that intersects with the claimed First Amendment
        interest. Driehaus, 573 U.S. at 161 (citation omitted).
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               2. Conduct Arguably Proscribed by Washington
                  Law
            SPU’s employment practices are arguably proscribed by
        Washington         law,   which      prohibits     employment
        discrimination on the basis of sexual orientation. The
        Attorney General essentially agrees but counters that,
        because the WLAD does not affect ministerial employees,
        SPU’s hiring practices are not proscribed. But that argument
        is circular: it is tantamount to saying that so long as SPU is
        not violating the WLAD, the WLAD does not prohibit its
        hiring practices. This reasoning, of course, collapses on
        itself in this situation. The Complaint is crystal clear that
        SPU has applied and will continue to apply its sexual
        conduct policies to all regular faculty and staff, ministers and
        non-ministers alike. These policies arguably violate the
        WLAD, even according to the Attorney General. In its letter
        requesting documents, the Attorney General stated that
        SPU’s employment policies are “possibl[y] discriminatory”
        and “may violate the Washington Law Against
        Discrimination.” Even more pointed, in a press release after
        SPU filed its initial Complaint, the Attorney General
        denounced SPU’s “illegal discrimination” and solicited
        more complaints. Thus, SPU’s course of conduct is arguably
        proscribed by the WLAD.
               3. Substantial Threat of Enforcement
            The final Driehaus factor requires a substantial threat of
        enforcement, which is often linked to the enforcing
        authority’s willingness to disavow enforcement. See LSO,
        Ltd. v. Stroh, 205 F.3d 1146, 1154–56 (9th Cir. 2000)
        (“While we cannot go so far as to say that a plaintiff has
        standing whenever the Government refuses to rule out use of
        the challenged provision, failure to disavow ‘is an attitudinal
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        factor the net effect of which would seem to impart some
        substance to the fears of [plaintiffs].’” (quoting Am.-Arab
        Anti-Discrimination Comm. v. Thornburgh, 970 F.2d 501,
        508 (9th Cir. 1991))). Here, the Attorney General has not
        disavowed its intent to investigate and enforce the WLAD
        against SPU. Instead, in a press release responding to this
        lawsuit, the Attorney General affirmatively solicited more
        complaints of “possible employment discrimination by
        Seattle Pacific University.”
             The letter requesting documents and a litigation retention
        hold is also a clear sign of a substantial threat. See Spokane
        Indian Tribe v. United States, 972 F.2d 1090, 1092 (9th Cir.
        1992) (upholding jurisdiction when the United States
        Attorney’s Office sent a letter informing the tribe that its
        “Pick 6” lotto violated state and federal law and requesting
        discontinuation). Without doubt, the Attorney General’s
        letter caused SPU to have a “real and reasonable
        apprehension that [it] will be subject to liability.” Id.
        (quoting Hal Roach Studios, Inc. v. Richard Feiner & Co.,
        896 F.2d 1542, 1555 (9th Cir. 1990)). The letter stated that
        “[t]he AGO has recently learned about possible
        discriminatory employment policies and practices by Seattle
        Pacific University that may violate the Washington Law
        Against Discrimination” and informed SPU that “the AGO
        is opening an inquiry to determine whether the University is
        meeting its obligations under state law.” The letter further
        enclosed a “certification regarding the retention of
        documents” and requested that SPU “maintain in their
        current forms all records, documents, files, and
        electronically stored material that may be relevant to this
        investigation.” Thus, the letter clearly raises the specter of
        potential administrative or judicial proceedings. This course
        of conduct is hardly without consequence.
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            Taken as a whole, the allegations in the Complaint
        satisfy the Driehaus test and establish an injury with respect
        to Counts II, VI, VII, IX, and X.
             C. Redressability
            For an injury to be redressable, it must be “likely, as
        opposed to merely speculative, that the injury will be
        redressed by a favorable decision.” Lujan v. Defs. of
        Wildlife, 504 U.S. 555, 561 (1992) (cleaned up). Here, the
        redressability of SPU’s alleged injury is plain:

                When the suit is one challenging the legality
                of government action or inaction, the nature
                and extent of facts that must be averred (at the
                summary judgment stage) or proved (at the
                trial stage) in order to establish standing
                depends considerably upon whether the
                plaintiff is himself an object of the action (or
                forgone action) at issue. If he is, there is
                ordinarily little question that the action or
                inaction has caused him injury, and that a
                judgment preventing or requiring the action
                will redress it.

        Id. at 561–62. SPU is challenging the future enforcement
        action of a state actor, and the court has the power to enjoin
        the action or issue relief through a declaration of rights. See
        e.g., Ted Cruz for Senate v. FEC, 542 F. Supp. 3d 1, 5–6
        (D.D.C. 2021) (invalidating and enjoining the enforcement
        of Section 304 of the Bipartisan Campaign Reform Act of
        2002), aff’d sub nom., FEC v. Cruz, 596 U.S. 289 (2022).
            The district court, however, rejected redressability for
        three reasons: (1) the prohibition on advisory opinions bars
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        declaratory relief, (2) a federal court cannot change state
        law, and (3) an injunction would impermissibly entangle the
        court with a religious institution. As we explain, none of the
        rationales defeat redressability.
               1. Declaratory Relief
            The Declaratory Judgment Act provides that, “[i]n a case
        of actual controversy within its jurisdiction . . . any court of
        the United States . . . may declare the rights and other legal
        relations of any interested party seeking such declaration,
        whether or not further relief is or could be sought.” 28
        U.S.C. § 2201(a). Decades ago, the Supreme Court anointed
        the Declaratory Judgment Act as constitutional. Aetna Life
        Ins. Co. of Hartford v. Haworth, 300 U.S. 227, 240–41
        (1937).
            The district court, however, eschewed its power to issue
        declaratory relief. It correctly noted that Article III courts
        “don’t issue advisory opinions,” but then jumped to the
        conclusion that the court cannot grant declaratory relief in
        this case. To be sure, “[t]here was a time” when the courts
        “harbored doubts about the compatibility of declaratory-
        judgment actions with Article III’s case-or-controversy
        requirement.” MedImmune, Inc. v. Genentech, Inc., 549
        U.S. 118, 126 (2007). But the Supreme Court has long since
        “dispelled” such doubts. Id. Declaratory relief does not
        necessarily translate into an advisory opinion. See e.g.,
        Skyline Wesleyan Church v. Cal. Dep’t of Managed Health
        Care, 968 F.3d 738, 749 (9th Cir. 2020) (holding that
        declaratory relief could redress the alleged injury); Clark v.
        City of Lakewood, 259 F.3d 996, 1007 (9th Cir. 2001), as
        amended (Aug. 15, 2001) (“If a plaintiff has standing to seek
        injunctive relief, the plaintiff also has standing to seek a
        declaratory judgment.”).
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             At the edges, there may be some ambiguity as to which
        declaratory-judgment actions are justiciable under Article
        III. But this ambiguity generally arises with respect to injury
        in fact or ripeness, and in any event, this is not an edge case.
        In MedImmune, the Supreme Court took up the ripeness of a
        case in which a “plaintiff’s self-avoidance of imminent
        injury is coerced by threatened enforcement action of a
        private party rather than the government.” 549 U.S. at 130.
        The Court began with the “recognition” that “where
        threatened action by government is concerned, we do not
        require a plaintiff to expose himself to liability before
        bringing suit to challenge the basis for the threat—for
        example, the constitutionality of a law threatened to be
        enforced.” Id. at 128–29. Indeed, it is not uncommon for
        plaintiffs with pre-enforcement injuries to seek declaratory
        relief. See, e.g., Driehaus, 573 U.S. at 154; Steffel v.
        Thompson, 415 U.S. 452, 475 (1974); Peace Ranch, LLC v.
        Bonta, 93 F.4th 482, 486 (9th Cir. 2024); LSO, 205 F.3d at
        1150. Thus, there is a wealth of precedent supporting the
        redressability of pre-enforcement injuries with declaratory
        relief. SPU requests a declaratory judgment that the First
        Amendment protects its employment decisions and that the
        Attorney General cannot target SPU in a retaliatory or non-
        neutral manner—a request that falls well within traditional
        declaratory relief.
               2. Changing State Law
            We do not read SPU’s claims as an effort for us to rewrite
        state laws. The district court saw it otherwise, stating, “[A]
        careful examination of [SPU’s requests for injunctive relief]
        indicates that plaintiffs are asking for a change to the state
        law against discrimination, or for limits to it, and also,
        possibly, limits on the state attorney general’s investigatory
        authority. This Court doesn’t have the power to change the
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        state law.” Obviously, federal courts do not have the power
        to rewrite or change state statutes with a red pen, but our
        decisions may properly delineate constitutional limits on
        state statutes.
            The pre-enforcement posture of this appeal does not alter
        our conclusion. In Tingley v. Ferguson, a licensed therapist
        sought to enjoin the enforcement of a Washington state law
        prohibiting the practice of conversion therapy on children.
        47 F.4th at 1063. We held that, although the plaintiff’s
        claims were ultimately without merit, he had standing to
        seek injunctive relief. Id. at 1091. Similarly, in Wolfson v.
        Brammer, the Ninth Circuit clarified:

               These defendants have the power to
               discipline Wolfson and, if they are enjoined
               from enforcing the challenged provisions,
               Wolfson will have obtained redress in the
               form of freedom to engage in certain
               activities without fear of punishment. . . . It is
               true that Wolfson cannot obtain revision of
               the Code from these defendants, but Wolfson
               may nevertheless obtain a form of effective
               redress in this action.

        616 F.3d 1045, 1056–57 (9th Cir. 2010).
            The fact that private parties remain free to sue SPU does
        not undercut redressability. Private enforcement is simply
        an additional available remedy. It is true that the
        redressability prong of standing cannot be met when redress
        depends on “the unfettered choices made by independent
        actors.” ASARCO Inc. v. Kadish, 490 U.S. 605, 615 (1989).
        But that is not the circumstance here. Potential declaratory
        or injunctive relief would directly redress the injury
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        stemming from the Attorney General’s threat of
        enforcement. That private actors could also seek to enforce
        the WLAD does not defeat the court’s ability to redress
        harms specific to the Attorney General.
           In short, we have the authority to address the
        constitutionality of the Washington law as applied to SPU.
                3. Entanglement with Religion
            The district court also found SPU’s injury non-
        redressable because injunctive relief would force the court
        to violate the Religion Clauses. The court framed the issue
        as a catch-22: if the court does nothing, then the Attorney
        General may be entangled with religion; but if the court
        enjoins the action, then the court must become entangled
        with religion. This is a false dilemma.
            As already noted, neither the court nor the Attorney
        General would violate the Religion Clauses by inquiring into
        which employees are ministerial. As a consequence, issuing
        a limited injunction would not necessarily entangle the court
        in religion. More fundamentally, redressability should not
        be conflated with the merits. SPU need only show that the
        court could fashion an injunction that could redress its
        injuries. Wolfson, 616 F.3d at 1056 (“A plaintiff meets the
        redressability requirement if it is likely, although not certain,
        that his injury can be redressed by a favorable decision.”).
        The scope of any injunctive relief—such as a narrow
        injunction related to ministerial employment—hinges on a
        merits determination, not redressability. For example, if the
        court were to find some aspects of SPU’s First Amendment
        claims to be meritorious, the court could enjoin certain
        aspects of the investigation or enforcement of the WLAD
        against SPU. See, e.g., id. at 1057.
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            An evaluation of SPU’s specific injunctive requests is
        unnecessary at this stage. The district court has discretion to
        fashion its own equitable relief. As Justice Douglas wrote:

               The essence of equity jurisdiction has been
               the power of the Chancellor to do equity and
               to mould each decree to the necessities of the
               particular case.      Flexibility rather than
               rigidity has distinguished it. The qualities of
               mercy and practicality have made equity the
               instrument for nice adjustment and
               reconciliation between the public interest and
               private needs as well as between competing
               private claims.

        Hecht Co. v. Bowles, 321 U.S. 321, 329–30 (1944). It may
        be, as the litigation unfolds, that declaratory relief redresses
        the injury and injunctive relief is unnecessary. Alternatively,
        it may be appropriate for the court to proactively narrow the
        scope of potential subpoenas. Or, of course, it may be that
        SPU’s claims are without merit and no remedy is warranted.
        The range of remedies underscores that the district court has
        the power to redress the alleged injury.
        II. Younger Abstention
            We next consider whether the case should have been
        dismissed under Younger v. Harris, 401 U.S. 37 (1971), an
        issue we review de novo. See Bristol-Myers Squibb Co. v.
        Connors, 979 F.3d 732, 735 (9th Cir. 2020). In Younger, the
        Supreme Court declared a “national policy forbidding
        federal courts to stay or enjoin pending state court
        proceedings except under special circumstances.” 401 U.S.
        at 41. We invoke a “five-prong test” to determine whether a
        civil case is Younger-eligible: “Younger abstention is
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        appropriate only when the state proceedings: (1) are
        ongoing, (2) are quasi-criminal enforcement actions or
        involve a state’s interest in enforcing the orders and
        judgments of its courts, (3) implicate an important state
        interest, and (4) allow litigants to raise federal challenges.”
        Rynearson v. Ferguson, 903 F.3d 920, 924–25 (9th Cir.
        2018) (quoting ReadyLink Healthcare, Inc. v. State Comp.
        Ins. Fund, 754 F.3d 754, 759 (9th Cir. 2014)). Because there
        are no ongoing enforcement actions or any court judgment,
        abstention under Younger is not warranted.
            To begin, there is no state court proceeding here. Nor is
        there an administrative proceeding or other enforcement
        action. And clearly, a prosecuting or enforcing entity’s
        investigation alone is neither a “quasi-criminal enforcement
        action[]” nor an enforcement action at all. See Rynearson,
        903 F.3d at 924–25. The Attorney General has no
        independent authority to sanction SPU under the WLAD.
        Wash. Rev. Code §§ 49.60.240, 49.60.250, 49.60.340. As a
        result, the investigation “cannot be said to have been brought
        ‘to sanction the federal plaintiff . . . for some wrongful act,’
        which is the quintessential feature of a Younger-eligible
        ‘civil enforcement action.’” Applied Underwriters, Inc. v.
        Lara, 37 F.4th 579, 589 (9th Cir. 2022) (quoting Sprint
        Commc’ns, Inc. v. Jacobs, 571 U.S. 69, 79 (2013)).
            Faced with these obvious problems, the Attorney
        General attempts another route to Younger abstention—the
        district court properly abstained because the investigation is
        an extension of soon-to-be-initiated state court proceedings,
        even though no complaint has yet been filed. Under this
        theory, however, the state court proceedings are not
        “ongoing.”
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            The Attorney General’s threat of enforcement in this
        case is sandwiched between pre-enforcement standing and
        the initiation of state proceedings. It has long been
        established that the mere threat of state enforcement is
        insufficient to justify federal court abstention.        See
        Steffel, 415 U.S. at 454, 462 (holding that Younger does not
        prevent federal declaratory relief “when a state prosecution
        has been threatened, but is not pending”). Indeed, if there
        were no daylight between the invocation of pre-enforcement
        standing and the start of Younger abstention, then litigants
        would have virtually no opportunity to seek federal review
        of state laws infringing on constitutional rights.
             Prior to a threat of enforcement, no Article III standing
        exists.     After state proceedings commence, Younger
        abstention prohibits federal court intervention for the
        duration of the proceedings. After state proceedings have
        concluded, the Rooker-Feldman doctrine would likely bar
        federal courts from reviewing the state court decision with
        narrow exceptions. See Johnson v. De Grandy, 512 U.S.
        997, 1005–06 (1994). And so, the question of what space
        exists between the start of pre-enforcement standing and the
        start of “ongoing” state proceedings may dictate many
        litigants’ opportunity to seek a federal remedy at all. See
        Telco Commc’ns, Inc. v. Carbaugh, 885 F.2d 1225, 1229
        (4th Cir. 1989) (“[T]he period between the threat of
        enforcement and the onset of formal enforcement
        proceedings may be an appropriate time for a litigant to bring
        its First Amendment challenges in federal court. Indeed, if
        this time is never appropriate, any opportunity for federal
        adjudication of federal rights will be lost.”).
            The Attorney General points to precedent establishing
        that state court proceedings can be “ongoing” in the
        investigation stage. True, but these cases are inapposite
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        because proceedings were actually initiated. See Partington
        v. Gedan, 961 F.2d 852, 861 (9th Cir. 1992), as amended
        (July 2, 1992) (“[The claim] is based in part on the Rule 2
        disciplinary investigation. In that regard, it clearly seeks
        relief with respect to a pending state proceeding.”); see also
        San Jose Silicon Valley Chamber of Com. Pol. Action
        Comm. v. City of San Jose, 546 F.3d 1087, 1092 (9th Cir.
        2008) (“The state-initiated proceeding in this case—the
        Elections Commission’s investigation of Plaintiffs’
        activities—is ongoing.”), abrogated on other grounds by
        Sprint Commc’ns, 571 U.S. 69. A state supreme court
        disciplinary proceeding and an election commission
        investigation are exceptional and not comparable to a run-
        of-the-mill Attorney General investigation to determine if
        further action is warranted.
            More specifically, in those cases applying Younger
        abstention in the investigation stage, the investigative entity
        had independent authority to sanction or discipline the
        target. See Partington, 961 F.2d at 861; San Jose Silicon
        Valley Chamber, 546 F.3d at 1089. In other words, there
        was no need to file with a separate adjudicative body. This
        understanding comports with the Supreme Court’s guidance
        that the proceeding must be “judicial in nature.” See Ohio
        C.R. Comm’n v. Dayton Christian Schs., Inc., 477 U.S. 619,
        627 (1986) (“Because we found that the administrative
        proceedings in Middlesex were ‘judicial in nature’ from the
        outset, it was not essential to the decision that they had
        progressed to state-court review by the time we heard the
        federal injunction case.” (citation omitted)).             An
        investigation alone is not enough, but when the entity is
        vested with enforcement or adjudicatory power, then the
        investigation may signal an ongoing quasi-judicial
        proceeding. Put differently, when the investigative entity
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        and the adjudicative entity are separate, “ongoing”
        proceedings begin with the first filing with the adjudicative
        body; but when the adjudicative body also has investigatory
        responsibilities, a functional approach governs.
            The Attorney General, unlike the Washington State
        Human Rights Commission and Washington administrative
        law judges, cannot independently sanction SPU. Wash. Rev.
        Code §§ 46.60.240, 46.60.250, 46.60.340. Rather, the
        Attorney General must file a lawsuit in state court to enforce
        the WLAD, something he has yet to do. See Wash. Rev.
        Code § 49.60.350. This ends the Younger inquiry. The
        district court should not have abstained under Younger.
        III. Prudential Ripeness
            Finally, we consider whether, at the Attorney General’s
        instigation, we should affirm the district court on prudential
        ripeness grounds, although the district court did not address
        this issue. 4 Prudential ripeness is discretionary. Thomas v.
        Anchorage Equal Rights Comm’n, 220 F.3d 1134, 1142 (9th
        Cir. 2000) (en banc). “[T]wo overarching considerations”
        animate the doctrine: “the fitness of the issues for judicial
        review and the hardship to the parties of withholding court
        consideration.” Id. at 1141 (quoting Abbott Laboratories v.
        Gardner, 387 U.S. 136, 149 (1967)). The first consideration
        gives credence to the principle that “a court cannot decide
        constitutional questions in a vacuum.” Alaska Right to Life
        Pol. Action Comm. v. Feldman, 504 F.3d 840, 849 (9th Cir.
        2007); see also Thomas, 220 F.3d at 1141 (“The record

        4
          The Attorney General also argues that SPU has failed to allege
        constitutional ripeness. The analysis for constitutional ripeness and pre-
        enforcement injury is the same. See Thomas, 220 F.3d at 1138. As
        discussed above, SPU has established a pre-enforcement injury;
        therefore, SPU has established constitutional ripeness.
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        before us is remarkably thin and sketchy, consisting only of
        a few conclusory affidavits. A concrete factual situation is
        necessary to delineate the boundaries of what conduct the
        government may or may not regulate.” (internal quotation
        marks and citation omitted)). The second consideration
        weighs the hardships to the parties—particularly, plaintiffs
        who have already demonstrated a constitutional injury.
        “Evaluating whether withholding judicial review presents a
        hardship requires looking at whether the challenged law
        ‘requires an immediate and significant change in the
        plaintiffs’ conduct of their affairs with serious penalties
        attached to noncompliance.’” Tingley, 47 F.4th at 1070–71
        (quoting Stormans, Inc. v. Selecky, 586 F.3d 1109, 1126 (9th
        Cir. 2009)).
            We note that the Supreme Court in dictum has
        questioned the “continued vitality” of prudential ripeness
        doctrine: “To the extent respondents would have us deem
        petitioners’ claims nonjusticiable on grounds that are
        prudential, rather than constitutional, that request is in some
        tension with our recent reaffirmation of the principle that a
        federal court’s obligation to hear and decide cases within its
        jurisdiction is virtually unflagging.” Driehaus, 573 U.S. at
        167 (cleaned up). The Court appears to have walked up to
        the line but stopped short of abrogating the doctrine.
            Because the district court did not rule on this issue
        below, and instead granted the motion to dismiss on standing
        and Younger abstention grounds, we remand to the district
        court to consider the issue in the first instance.
                                CONCLUSION
            We affirm the district court’s dismissal of Counts I, III,
        IV, V, VIII, and XI, because we determine that SPU failed
        to allege a cognizable injury in fact for its retrospective
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        claims. In contrast, we conclude that SPU has standing for
        its prospective pre-enforcement injury claims—Counts II,
        VI, VII, IX, and X—and therefore reverse the dismissal of
        those claims. Younger abstention does not support dismissal
        of SPU’s Complaint. We remand to the district court to
        consider prudential ripeness.
           Each party shall pay its own costs on appeal.
           AFFIRMED IN PART AND REVERSED IN PART.
